         Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 1 of 16


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10
                            UNITED STATES DISTRICT COURT
11
                          NORTHERN DISTRICT OF CALIFORNIA
12

13
                                                     Master File No. 3:14-cv-03264-JD
14   In Re: CAPACITORS ANTITRUST
     LITIGATION                                      [PROPOSED] ORDER GRANTING
15                                                   DIRECT PURCHASER PLAINTIFFS’
                                                     MOTION FOR FINAL APPROVAL OF
16                                                   PROPOSED SETTLEMENTS WITH
     THIS DOCUMENT RELATES TO:                       DEFENDANTS FUJITSU LIMITED,
17
     ALL DIRECT PURCHASER ACTIONS                    NEC TOKIN, NITSUKO, THE OKAYA
18                                                   DEFENDANTS, AND ROHM

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         [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                       PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 2 of 16


 1           This matter is before the Court on Direct Purchaser Plaintiffs’ Motion for Final Approval of

 2   Settlements (“Motion”) with Fujitsu Limited, NEC TOKIN Corporation, NEC TOKIN America, Inc.,

 3   Nitsuko Electronics Corporation, Okaya Electric Industries Co., Ltd. and Okaya Electric America, Inc.,

 4   ROHM Co., Ltd., and ROHM Semiconductor U.S.A., LLC (the “Settling Defendants”) (Dkt. 1461).

 5           The Settlements total $32,600,000 in cash and secure agreements by each of the five Settling

 6   Defendants to cooperate in the DPPs’ continued prosecution of their claims against the non-settling

 7   Defendants—are the first in this litigation since its inception over two and a half years ago. The Court

 8   has already preliminarily approved the Settlements. See Dkt. 1455.

 9           Upon consideration of Direct Purchaser Plaintiff Counsel’s Motion, Lead Class Counsel’s

10   supporting declaration concurrently filed therewith, the declaration of Kendall S. Zylstra of claims

11   administrator Rust Consulting (“Rust”) concurrently filed therewith, all other papers in the Court’s

12   files, and the argument at the March 2, 2017 hearing, the Court finds the following and (1) grants final

13   approval to the Settlements; (2) finds DPPs’ dissemination of notice to be in accordance with the Court-

14   approved notice program and with Rule 23 and due process requirements; (3) finally certifies the

15   Settlement Class; and (4) grants final approval of DPPs’ pro rata allocation plan.

16

17   I.      TERMS OF THE SETTLEMENTS

18           Taken together, the Settlements each resolve all of the Direct Purchaser Class’ claims in the

19   Action against the respective Settling Defendants. Details of the Settlements are contained in the

20   agreements themselves, which are attached as Exhibits A, B, C, D, and E to Lead Class Counsel’s

21   Declaration (Dkt. 1461-1). The terms of the Settlements most pertinent to the Court’s final approval

22   consideration are set forth below. The settlements constitute an outstanding result for the benefit of the

23   Class. See id. at ¶¶ 6-8.

24           As set forth below, the settlement payments for each of the Settling Defendants represent

25   between approximately 27% to over 1,100% of their respective net U.S. sales during the relevant time

26   period. See id. at ¶¶ 9-24 .Together, the total payments under the Settlements represent a repayment to

27   Class members of approximately 48% of the total net U.S. sales of the Settling Defendants during the

28   relevant time period. See id.
                                                         2
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 3 of 16


 1          A.      Settlement Amounts and Additional Consideration Unique to Each Settling
                    Defendants
 2
                     1.      Fujitsu Settlement
 3
            Fujitsu has agreed to pay $2,000,000 to resolve the claims of the Direct Purchaser Plaintiff class
 4
     into the Settlement Fund within twenty business days after the Court’s order granting the Preliminary
 5
     Approval Motion. See Dkt. 1461-1, Ex. A at ¶ 12.
 6
            As additional consideration, Fujitsu has agreed to cooperate with Plaintiffs in the further
 7
     prosecution of their claims against the Non-Settling Defendants. Fujitsu has agreed, if required, to make
 8
     available employees and/or representatives to establish, if possible, the foundational requirements for
 9
     admitting relevant business records at trial, and to provide up to a total of two current employees as
10
     witnesses to provide information regarding sales, pricing, production, capacity and cost of its capacitor
11
     products, to the extent any current Fujitsu employee has direct personal knowledge regarding such
12
     topics. See id., at ¶ 13. Based on Fujitsu’s document production and representations to DPPs’ counsel,
13
     the total volume of direct capacitors sales by Fujitsu Limited’s subsidiaries (through which Fujitsu
14
     Limited sold capacitors) did not exceed $200,000 during the relevant time period. See id. Fujitsu
15
     Limited’s settlement payment represents 1,000% (10 times) its sales during the relevant time period. See
16
     id.
17
                     2.      NEC TOKIN Settlement
18
            NEC TOKIN has agreed to pay a total settlement amount of $24,000,000. NEC TOKIN agreed
19
     that it would pay $4,000,000 into the Settlement Fund on or before July 29, 2016, $200,000 of which
20
     shall be available immediately thereafter for reimbursement of such costs, fees, and expenses related to
21
     the provision of notice to the Settlement Class Members. See Dkt. 1461-1, Ex. B at ¶¶ 19-20. NEC
22
     TOKIN has already made both of these payments. See id., at ¶ 11. NEC TOKIN has agreed to make
23
     additional payments into the Settlement Fund as follows: (a) $5 million on or before May 15, 2017; (b)
24
     $5 million on or before May 15, 2018; (c) $5 million on or before May 15, 2019; (d) $5 million on or
25
     before December 31, 2019. See id., Ex. B at ¶ 19.
26
            As further consideration, NEC TOKIN has agreed to cooperate with Plaintiffs in the continuing
27
     prosecution of their claims against the Non-Settling Defendants. NEC TOKIN will make up to six
28
                                                         3
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 4 of 16


 1   current employees available for interview by Plaintiffs for deposition and for testimony at hearings or

 2   trials. See id., at ¶ 22. NEC TOKIN will also encourage up to six former employees to make themselves

 3   available for interview by Plaintiffs for deposition and for testimony at hearings or trials. See id. Finally,

 4   NEC TOKIN will provide declarations consistent with the declarants’ belief as to the relevant facts as

 5   requested by DPPs regarding additional topics (e.g., liability, impact, damages, class certification,

 6   admissibility/foundation). See id.

 7           In connection with its criminal guilty plea, NEC TOKIN has represented that its sales of

 8   tantalum electrolytic capacitors in the United States from April 2002 to December 2013 were $51.1

 9   million. See Dkt. 1298-6 at 4. NEC TOKIN’s settlement payment represents approximately 47% of its

10   sales during the relevant time period. See Dkt. 1461-1 at ¶ 15.

11                    3.      Nitsuko Settlement

12           Nitsuko has agreed to pay a total amount of $1,100,000. Nitsuko agreed to pay $100,000 into the

13   Settlement Fund within thirty calendar days after the Court’s order granting the Preliminary Approval

14   Motion, which amount shall be available immediately thereafter for reimbursement of such costs, fees,

15   and expenses related to the provision of notice to the Settlement Class Members. See Dkt. 1461-1, Ex. C

16   at ¶ 19. Nitsuko has agreed to additional payments into the Settlement Fund as follows: within 30

17   calendar days after the settlement’s Effective Date, Nitsuko shall pay $450,000; within three hundred

18   365 calendar days after the Effective Date, Nitsuko shall pay $350,000; within 427 calendar days after

19   the Effective Date, Nitsuko shall pay $200,000. See id., at ¶¶ 19-20. Nitsuko has not yet made any of

20   these payments. See id., at ¶ 18.

21           Nitsuko also has agreed to cooperate with Plaintiffs in the further prosecution of their claims

22   against the Non-Settling Defendants. Nitsuko has agreed to produce to Plaintiffs documents concerning

23   (a) JFC meetings attended by Nitsuko, including meeting minutes and notes from attendees, and emails

24   concerning JFC meetings; (b) documents that it has provided to U.S. and foreign law enforcement

25   authorities; and (c) English language translations of foreign language documents that it provided to the

26   U.S. Department of Justice within fifteen business days after the Preliminary Approval by the Court of

27   this Agreement. See id., Ex. C at ¶ 21. Additionally, Nitsuko agreed to make available two certain

28   agreed-upon Nitsuko employees for depositions, and to provide assistance reasonably necessary to
                                                      4
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 5 of 16


 1   establish the foundation for and admissibility of documents Nitsuko has produced in this Action or

 2   pursuant to this Settlement Agreement. See id.

 3          Nitsuko sold less than $100,000 of capacitors to U.S. purchasers during the relevant time

 4   period. Dkt. 1461-1 at ¶ 18. Nitsuko’s settlement payment represents approximately 1,100% of its sales

 5   during the relevant time period. See id.

 6                   4.      The Okaya Defendants’ Settlement

 7          The Okaya Defendants have agreed to pay a total of $3,650,000. The Okaya Defendants have

 8   agreed to pay $100,000 into the Settlement Fund within thirty calendar days after the Court’s order

 9   granting the Preliminary Approval Motion, which amount shall be available immediately thereafter for

10   reimbursement of such costs, fees, and expenses related to the provision of notice to the Settlement

11   Class Members. See Dkt. 1461-1, Ex. D at ¶ 19. The Okaya Defendants have agreed to pay $3,550,000

12   into the Settlement Fund in one lump sum payment within thirty calendar days after the Effective Date

13   as defined in the Settlement Agreement. See id. The Okaya Defendants have made this lump sum

14   payment. See id., at ¶ 19.

15          As additional consideration, the Okaya Defendants have agreed to cooperate with DPPs in the

16   further prosecution of their claims against the Non-Settling Defendants. The Okaya Defendants have

17   provided DPPs (a) certain documents concerning various cartel meetings, including, without limitation,

18   “JFC” and “JEITA” meetings; (b) documents that it has provided to U.S. and foreign law enforcement

19   authorities; and (c) English language translations of foreign language documents that it provided to the

20   U.S. Department of Justice. See id., Ex. D at ¶¶ 23-24. In addition, the Okaya Defendants have agreed to

21   provide an oral proffer of testimony, and have agreed to provide a declaration or affidavit in lieu of

22   testifying at a Rule 30(b)(6) deposition for purposes of DPPs’ motion for class certification. See id., at ¶

23   25. The Okaya Defendants have also agreed to make two employees available for deposition, and to

24   produce to testify at trial one witness in their employ regarding the Okaya Defendants’ participation in

25   JFC and JEITA meetings, and to provide authentication and foundation for documents to be used in

26   connection with the prosecution of the case against the Non-Settling Defendants. See id., at ¶¶ 26-27.

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            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 6 of 16


 1           The total amount of capacitors that Okaya sold to U.S. purchasers from 2002 to 2014 totaled

 2   close to $11,000,000. Dkt. 1461-1 at ¶ 21. Okaya’s settlement payment represents approximately 33% of

 3   its U.S. sales during the relevant time period. See id.

 4                    5.      ROHM Settlement

 5           ROHM agreed to pay $1,850,000 within thirty days following the execution of its settlement

 6   agreement. See Dkt. 1461-1, Ex. E at ¶ 12. ROHM has already made this payment. See id., at ¶ 22.
 7           1.      ROHM also agreed to cooperate with Plaintiffs in the further prosecution of their claims
 8   against the non-settling Defendants. ROHM has agreed to provide an initial attorney proffer lasting two
 9   business days, during which counsel will describe the facts developed through its worldwide
10   investigation of its conduct. See id., Ex. E at ¶ 22. ROHM agreed to make up to two current employees
11   available for interview, deposition, and testimony at hearings or trials. ROHM agreed to make available
12   employees and/or representatives to establish the foundational requirements for admitting relevant
13   ROHM business records at trial, and to provide up to two current employees as witnesses at trial. See
14   id. ROHM has also agreed to provide declarations, if requested, consistent with the declarants’ belief
15   concerning additional topics such as liability, impact, damages, class certification, and the admissibility
16   of evidence. See id.
17           2.      DPPs estimate the total amount of capacitors that ROHM sold to U.S. customers during
18   the relevant time period was approximately $7 million. Dkt. 1461-1 at ¶ 24. ROHM’s settlement
19   payment represents approximately 26.4% of its sales during the relevant time period. See id.
20           B.      Terms Common to All Five Settlements
21                   1.      Release of All Claims
22           In exchange for the Settling Defendants’ monetary and cooperation consideration, upon entry of
23   a final judgment approving the proposed Settlements, DPPs will release the Settling Defendants of all
24   claims related to any of the alleged conduct giving rise to this litigation. See Dkt. 1461-1 Exs. A at ¶¶ 9-
25   10; B at ¶ 12; C at ¶ 12; D at ¶ 12; E at ¶ 12.
26           The Settlements, however, do not resolve or compromise any claims against the Non-Settling
27   Defendants. See Dkt. 1461-1 at ¶ 25. Further, the Settling Defendants sales are not removed for purposes
28   of asserting joint and several or derivative liability against any Non-Settling Defendant. See id.
                                                             6
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 7 of 16


 1                  2.      Option to Rescind Settlement Agreements

 2           The Settling Defendants each have the option to rescind their settlement agreements for certain

 3   specified reasons, e.g., if the level of opt-outs exceeds certain dollar amounts of direct purchases set

 4   forth in the confidential supplemental agreements, which can be made available to the Court for in

 5   camera inspection. See Dkt. 1461-1 Exs. A at ¶ 26; B at ¶¶ 38-40; C at ¶ 36; D at ¶¶ 42-43; E at ¶¶ 39-

 6   40. The dollar amount triggering rescission rights is different for each Settling Defendant. See Dkt. 1461-

 7   1 at ¶ 26.

 8                  3.      Attorneys’ Fees and Expenses

 9           The Settlement Agreements provide that Interim Class Counsel may seek attorneys’ fees and

10   reimbursement of costs and expenses incurred in the prosecution of this litigation. See Dkt. 1461-1 Exs.

11   A at ¶¶ 20-22; B at ¶¶ 31-35; C at ¶¶ 29-33; D at ¶¶ 35-39; E at ¶ 31.

12   II.     THE COURT FINALLY APPROVES DPPS’ SETTLEMENTS, FINDING EACH TO
             BE FAIR, REASONABLE, AND ADEQUATE
13
             A class action may be dismissed, compromised, or settled only with the approval of the Court.
14
     The Rule 23(e) settlement approval procedure includes: (1) certification of a settlement class and
15
     preliminary approval of the proposed settlement; (2) dissemination of notice of the settlement to all
16
     affected class members; and (3) a fairness hearing at which class members may be heard regarding the
17
     settlement, and at which counsel may introduce evidence and present argument concerning the fairness,
18
     adequacy, and reasonableness of the settlement. See 4 William B. Rubenstein, Albert Conte & Herbert
19
     Newberg, Newberg on Class Actions §§ 13:39 et seq. (5th ed. 2014). This procedure safeguards class
20
     members’ due process rights and enables the Court to fulfill its role as the guardian of class interests. Id.
21
             The law favors the compromise and settlement of class action suits. See, e.g., Officers for Justice
22
     v. Civil Serv. Comm’n, 688 F.2d 615, 635 (9th Cir. 1982); Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d
23
     566, 576 (9th Cir. 2004) (“Churchill”); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir.
24
     1992). “[T]he decision to approve or reject a settlement is committed to the sound discretion of the
25
     trial judge because he is ‘exposed to the litigants and their strategies, positions and proof.’” Hanlon v.
26
     Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1988) (quoting Officers for Justice, 688 F.2d at 626). In
27
     exercising such discretion, courts should give
28
                                                          7
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 8 of 16


 1                   proper deference to the private consensual decision of the parties. . . .
                     [T]he court’s intrusion upon what is otherwise a private consensual
 2                   agreement negotiated between the parties to a lawsuit must be limited to
                     the extent necessary to reach a reasoned judgment that the agreement is
 3                   not the product of fraud or overreaching by, or collusion between, the
                     negotiating parties, and that the settlement, taken as a whole, is fair,
 4                   reasonable and adequate to all concerned.

 5   Id. at 1027 (citation and quotations omitted).

 6           When parties reach settlement before a class is certified, courts “must peruse the proposed

 7   compromise to ratify both the propriety of the certification and the fairness of the settlement.” Staton v.

 8   Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003). Pre-class certification settlements “must with-stand an

 9   even higher level of scrutiny for evidence of collusion or other conflicts of interest than is ordinarily

10   required under Rule 23(e) before securing the court’s approval as fair.” In re Bluetooth Headset Prods.

11   Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (citing Hanlon, 150 F.3d at 1026). In evaluating a proposed

12   class action settlement, the Ninth Circuit requires the Court to balance the following factors:

13                   (1) the strength of the plaintiffs’ case; (2) the risk, expense, complexity,
                     and likely duration of further litigation; (3) the risk of maintaining class
14                   action status throughout the trial; (4) the amount offered in settlement;
                     (5) the extent of discovery completed and the stage of the proceedings;
15                   (6) the experience and views of counsel; (7) the presence of a
                     governmental participant; and (8) the reaction of the class members to
16                   the proposed settlement.

17   Churchill, 361 F.3d at 575 (citing Hanlon, 150 F.3d at 1026); accord Torrisi v. Tucson Elec. Power Co., 8

18   F.3d 1370, 1375 (9th Cir. 1993); Officers for Justice, 688 F.2d at 625.

19           The Court finds that the balance of these factors weighs in favor of final approval.

20           A.      The Significant Monetary and Other Benefits to the Settlement Class Favor
                     Approval
21
             The Settlements provide important relief for Settlement Class members. The relief afforded is
22
     fair, adequate and reasonable, particularly given the potential risks of litigation.
23
             Damages in a price-fixing antitrust conspiracy case generally are based on the amount of the
24
     overcharge resulting from anticompetitive activity, usually measured as a percentage of total sales. The
25
     $32.6 million in total settlement in this case represents approximately 48% of the total net U.S. sales of
26
     all Settling Defendants during the relevant time period. See Dkt. 1461-1 ¶¶ 9-24. None of the Settling
27
     Defendants is paying less than 26% of its aggregate net U.S. sales during the relevant time period. NEC
28
                                                           8
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 9 of 16


 1   TOKIN is paying approximately 47% of its net U.S. sales during the relevant time period. See Dkt. 1461-

 2   1 ¶ 15. Two of the Settling Defendants are paying between 10 to 11 times their respective aggregate net

 3   U.S. sales during the relevant time period. See Dkt. 1461-1 at ¶¶ 10-24.

 4          The percentage recovered from Settling Defendants far exceeds the percentage recovered in

 5   many other antitrust class action settlements. See, e.g., In Re Dynamic Random Access Memory (DRAM)

 6   Antitrust Litig., No. M-02-1486 PJH, slip. op. (N.D. Cal. Nov. 1, 2006) (approving settlements of 10.53%

 7   to 13.96% of sales); In re Auto. Refinishing Paint Antitrust Litig., MDL No. 1426, 2004 U.S. Dist. LEXIS

 8   29163, at *5 (E.D. Pa. May 10, 2004) (recovery represented approximately 2% of sales); In re Linerboard

 9   Antitrust Litig., 321 F. Supp. 2d 619, 627 (E.D. Pa. 2004) (recovery represented 1.62% of sales); In re

10   Plastic Tableware Antitrust Litig., No. Civ. A. 94-3564, 1995 U.S. Dist. LEXIS 17014, at *4 (E.D. Pa. Nov.

11   13, 1995) (recovery represented 3.5% of sales).

12          The amount of the total settlement payments is particularly large considering the relatively

13   minor commerce of the Settling Defendants compared with the non-settling Defendants. The Settling

14   Defendants’ net sales to U.S. purchasers constitute approximately 1% of the total commerce at issue in

15   this litigation—even though the Settling Defendants’ corporate families represent approximately 25% of

16   the corporate Defendant families sued by DPPs in the Complaint. See Dkt. 1461-1 ¶¶ 9-24. The

17   Settlements do not reduce the damages the Class can recover as each of the Non-Settling Defendants

18   remains jointly and severally liable for all the damages caused by the cartel. See Dkt. 1461-1 at Exs. A at ¶

19   25; B at ¶ 18; C at ¶ 18; D at ¶ 18; E at ¶ 18. The Settlements do not limit DPPs’ continued prosecution

20   of their claims against the non-settling Defendants. Indeed, the Settlements materially advance it. See

21   Dkt. 1461-1 at ¶ 8.

22          Finally, each of the Settling Defendants has agreed to provide valuable assistance to DPPs in

23   their continuing case against the remaining non-settling Defendants. See Dkt. 1461-1 at ¶¶ 10-24.

24          B.      Although DPPs’ Claims are Strong, The Court Should Approve the Settlements
                    Because They Eliminate Certain Litigation Risks to the Settlement Class
25
            The “strength of the plaintiffs’ case,” the “risk, expense, complexity, and likely duration of
26
     further litigation,” and “the risk of maintaining class action status throughout the trial” favor approval
27
     of the Settlements. See Churchill, 361 F.3d at 575.
28
                                                           9
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
           Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 10 of 16


 1           An antitrust class action is “arguably the most complex action to prosecute. . . . The legal and

 2   factual issues involved are always numerous and uncertain in outcome.’” In re Optical Disk Drive Prods.

 3   Antitrust Litig., No. 3:10-md-2143 RS, 2016 U.S. Dist. LEXIS 175515, at *45 (N.D. Cal. Dec. 19, 2016)

 4   (citation and internal quotations omitted). Indeed, the “history of antitrust litigation is replete with

 5   cases in which antitrust plaintiffs succeeded at trial on liability, but recovered no damages, or only

 6   negligible damages, at trial, or on appeal.” In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D.

 7   465, 476 (S.D.N.Y. 1998).

 8           These are important considerations because Defendants continue to stand on their defenses

 9   despite three rounds of motions to dismiss and two rounds of summary judgment motions. Defendants

10   are represented in this action by some of the most experienced antitrust attorneys in the United States

11   and they have vigorously defended their clients at every stage of this litigation. The Settlements are in

12   the best interests of the Settlement Class because they eliminate the risks of continued litigation while at

13   the same time providing substantial cash recovery and other benefits to the Class. The Settlements also

14   provide the Class substantial strategic advantages. The Settling Defendants have agreed to cooperate

15   with DPPs in the continuing suit against the non-Settling Defendants for a much larger potential

16   recovery. See Dkt. 1461-1 at ¶¶ 10-24. Moreover, the greater the number of Defendants, the more

17   complicated the case becomes, presenting challenges at trial. Partial settlements such as this one

18   streamline the case and allow plaintiffs to focus their efforts on the remaining culpable defendants.

19           C.      The Settlements Resulted from Informed, Arm’s-Length Negotiations Between the
                     Parties and DPPs’ Experienced Counsel
20
             In determining whether to approve a class action settlement, “‘the district court must reach a
21
     reasoned judgment that the proposed agreement is not the product of fraud or overreaching by, or
22
     collusion among, the negotiating parties’. . . .” City of Seattle, 955 F.2d at 1290 (quoting Ficalora v.
23
     Lockheed Cal. Co., 751 F.2d 995, 997 (9th Cir. 1985)). Where a proposed class settlement “has been
24
     reached after meaningful discovery, after arm’s length negotiation, conducted by capable counsel, it is
25
     presumptively fair.” M. Berenson Co., Inc. v. Faneuil Hall Marketplace, Inc., 671 F. Supp. 819, 822 (D.
26
     Mass. 1987).
27

28
                                                           10
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
           Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 11 of 16


 1           The judgment of experienced counsel regarding a settlement reached by arm’s-length

 2   negotiations should be given significant weight and a presumption of reasonableness. See Linney v.

 3   Cellular Alaska P’ship, Nos. 96-3008-DLJ, 97-0203-DLJ, 97-0425-DLJ, & 97-0457-DLJ, 1997 U.S. Dist.

 4   LEXIS 24300, at *16 (N.D. Cal. July 18, 1997), aff’d 151 F.3d 1234 (9th Cir. 1998); In re Omnivision

 5   Techs., Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal. 2007). Here, to the extent the Settlements might be

 6   viewed as “early” because the class certification issues have not yet been litigated, these are “early

 7   resolution[s] [that] demonstrate that the parties and their counsel are well prepared and well aware of

 8   the strength and weaknesses of their positions and of the interests to be served by an amicable end to the

 9   case.” In re AT & T Mobility Wireless Data Servs. Sales Tax Litig., 789 F. Supp. 2d 935, 967 (N.D. Ill.

10   2011) (citations omitted).

11           Lead Class Counsel have extensive experience handling antitrust class actions and other

12   complex litigation from inception through trials and appeals. See Dkt. 1461-1 at ¶ 2. Lead Class Counsel

13   have represented DPPs since the commencement of this litigation, conducted an in-depth investigation

14   into the factual and legal issues raised in this action both before and after filing the case, and litigated the

15   case assiduously for over two and a half years. See id. at ¶ 3. Counsel for the Settlement Class have also

16   conducted arm’s-length negotiations on a well-informed basis against experienced defense counsel. See

17   id. at ¶¶ 4-5.

18           Counsel for the Settlement Class and for the Settling Defendants endorse the Settlements as

19   fair, adequate and reasonable. See Dkt. 1461-1 ¶ 6. The “experience and views of counsel” thus favors

20   approval of the Settlements. Churchill, 361 F.3d at 575. This buttresses the presumptive fairness of the

21   Settlements. See, e.g., Hashw v. Dep’t Stores Nat’l Bank, 182 F. Supp. 3d 935, 943 (D. Minn. 2016)

22   (presumption of fairness was “especially true because the settlement was reached through mediation

23   with a third-party neutral”); Schiller v. David’s Bridal, Inc., No. 1:10-cv-00616-AWI-SKO, 2012 U.S.

24   Dist. LEXIS 2117001, at *28 (E.D. Cal. June 11, 2012) (same).

25           D.       The Case’s Procedural Posture, Along With the Significant Discovery Conducted to
                      Date, Has Informed Settlement Negotiations and Supports Final Approval
26
             The “extent of discovery completed and the stage of the proceedings” in this case favors final
27
     approval. Churchill, 361 F.3d at 575.
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                                                           11
            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
           Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 12 of 16


 1           The extent of the discovery conducted to date and the procedural posture of the case

 2   demonstrate the factual basis for the Settlements and the knowledge of counsel for the Settlement Class

 3   with respect to the facts and legal issues in the case. See Dkt. 1458-1 at ¶¶ 18-55. The settlement

 4   negotiations and the ultimate decision to settle was informed by a detailed and sufficient analysis. See,

 5   e.g., In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000). “A settlement following sufficient

 6   discovery and genuine arms-length negotiation is presumed fair.” Knight v. Red Door Salons, Inc., No.

 7   08-01520 SC, 2009 U.S. Dist. LEXIS 11149, at *10 (N.D. Cal. Feb. 2, 2009) (citation omitted). This

 8   case was commenced by the Lead Class Counsel on July 18, 2014. Since then, counsel for the

 9   Settlement Class have received from Defendants approximately 7 terabytes of ESI and more than 500

10   gigabytes of transactional data during discovery, the great majority of which are in Japanese. See Dkt.

11   1458-1 at ¶¶ 45-46, 51. The docket contains over 1,450 filed documents. Counsel have protected DPPs’

12   claims against two rounds of motions to dismiss and two rounds of summary judgment motions filed by

13   dozens of experienced and well-respected attorneys on behalf of the corporate Defendant families. See

14   id. at ¶¶ 21-37. Based on this work, Counsel have developed substantial information and conducted

15   substantial analysis regarding the strengths and weaknesses of the case. See id. at ¶ 50. Counsel

16   therefore possess the expertise and information to make an informed judgment as to the fairness and

17   appropriateness of the Settlements for the Settlement Class.

18           E.      Class Members’ Positive Reaction to the Settlements Favors Final Approval

19           A court may appropriately infer that a class settlement is fair, adequate, and reasonable when few

20   Class members object to it. See Marshall v. Holiday Magic, Inc., 550 F.2d 1173, 1178 (9th Cir. 1977); Nat’l

21   Rural Telecomm. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. 2004). Indeed, a court can

22   approve a class action settlement over the objections of a significant percentage of Class members. See

23   City of Seattle, 955 F.2d at 1291-96.

24           Starting December 14, 2016, DPPs’ Court-approved notice program reached out directly to

25   2,279 prospective Class members. See Dkt. 1461-1 at ¶ 29; Dkt. 1462 at ¶ 4. DPPs have received no

26   objections and no opt-out notices. See Dkt. 1461-1 at ¶ 34.

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            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
            Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 13 of 16


 1   III.    THE COURT-APPROVED NOTICE PROGRAM SATISFIES RULE 23 AND DUE
             PROCESS AND HAS BEEN FULLY IMPLEMENTED
 2
             Federal Rule of Civil Procedure 23(e)(1) provides that a court must direct notice in a
 3
     “reasonable manner” to all class members to be bound by a proposed settlement. When a proposed
 4
     Rule 23(b)(3) class settlement is presented for court approval, the Federal Rules require class members
 5
     to receive:
 6
                    the best notice that is practicable under the circumstances, including
 7                  individual notice to all members who can be identified through reasonable
                    effort. The notice must clearly and concisely state in plain, easily
 8                  understood language: (i) the nature of the action; (ii) the definition of the
                    class certified; (iii) the class claims, issues, or defenses; (iv) that a class
 9                  member may enter an appearance through an attorney if the member so
                    desires; (v) that the court will exclude from the class any member who
10                  requests exclusion; (vi) the time and manner for requesting exclusion; and
                    (vii) the binding effect of a class judgment on members under Rule
11                  23(c)(3).

12   Fed. R. Civ. P. 23(c)(2)(B); see also Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985) (same)

13   (citing Mullane v. Hanover Bank & Trust Co., 339 U.S. 306, 314-15 (1950)). “[T]he class must be notified

14   of a proposed settlement in a manner that does not systematically leave any group without notice.”

15   Officers for Justice, 688 F.2d at 624 (citations omitted). These requirements ensure that class notice

16   procedures comply with the demands of due process. Rannis v. Recchia, 380 F. App’x 646, 650 (9th Cir.

17   2010) (citing Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173 (1974)). The notice provided to Class

18   members in this case comports with due process and satisfies all applicable requirements.

19   IV.     THE COURT FINALLY CERTIFIES THE SETTLEMENT CLASS

20           It is well-established that a class may be certified for purposes of settlement. See, e.g., Amchem

21   Prods., Inc. v. Windsor, 521 U.S. 591 (1997). This is necessary to effectuate the Settlements. A class

22   action is maintainable only if it meets the four Rule 23(a) prerequisites:

23                  (1) the class is so numerous that joinder of all members is impracticable;
                    (2) there are questions of law or fact common to the class;
24
                    (3) the claims or defenses of the representative parties are typical of the
25                  claims or defenses of the class; and
                    (4) the representative parties will fairly and adequately protect the
26                  interests of the class.
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            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
           Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 14 of 16


 1   Fed. R. Civ. P. 23(a). In a settlement-only certification context, the “specifications of the Rule . . .

 2   designed to protect absentees by blocking unwarranted or overbroad class definitions . . . demand

 3   undiluted, even heightened, attention[.]” Amchem, 521 U.S. at 620.

 4           In addition to the Rule 23(a) prerequisites, “parties seeking class certification must show that the

 5   action is maintainable under Rule 23(b)(1), (2), or (3).” Id. at 614. Rule 23(b)(3), relevant here, requires

 6   that (1) “questions of law or fact common to class members predominate over any questions affecting

 7   only individual members” and (2) “a class action is superior to other available methods for

 8   fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

 9           All requirements under Fed. R. Civ. P. 23 have been satisfied.

10           First, the Settlement Class should be finally certified. The definition of the Settlement Class that

11   DPPs proposed in their preliminary approval motion was provisionally certified by the Court in its

12   Preliminary Approval Order. See Dkts. 1298 at 8; 1455 at ¶¶ 3. No potential Class member has objected

13   to the Settlement Class Definition. See Dkt. 1461-1 at ¶ 34.

14           Second, the proposed Settlement Class satisfies each of Rule 23(a)’s four prerequisites. DPPs’

15   motion for preliminary approval set forth in detail how Rule 23(a)’s numerosity, commonality, typicality

16   and adequacy prerequisites are met here. See Dkt. 1298 at 19-20. The Court’s Preliminary Approval

17   Order provisionally found that the Settlement Class fulfills each of these requirements. See Dkt. 1455 at

18   4. No potential Settlement Class member has objected to the Court’s provisional findings, and there

19   have been no intervening events that would affect those findings. See Dkt. 1461-1 at ¶ 34.

20           Third, DPPs’ claims satisfy Rule 23(b)(3)’s predominance and superiority requirements . DPPs’

21   motion for preliminary approval set forth in detail how common issues predominate over individualized

22   issues in the Settlement Class’ prosecution of claims alleging a years-long capacitors price-fixing

23   conspiracy among the Defendants. See Dkt. 1298 at 20-21. DPPs also explained why prosecuting DPPs’

24   claims as a class action is superior to any individualized adjudication of these claims. See id. The Court’s

25   Preliminary Approval Order provisionally found that DPPs satisfied Rules 23(b)’s predominance and

26   superiority requirements. See Dkt. 1455 at 4. As with Rule 23(a)’s prerequisites, no potential Settlement

27   Class member has objected to the Court’s provisional findings, and there have been no material

28   intervening events. The Court therefore finally certifies the Settlement Class.
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            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
           Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 15 of 16


 1   V.      THE COURT FINALLY APPROVES DPPS’ ALLOCATION PLAN

 2           A plan of allocation of class settlement funds is subject to the fair, reasonable and adequate

 3   standard that applies to approval of class settlements. In re Citric Acid Antitrust Litig., 145 F. Supp. 2d

 4   1152, 1154 (N.D. Cal. 2001). A plan of allocation that compensates class members based on the type and

 5   extent of their injuries is generally considered reasonable. Id; see also In re Computron Software, Inc. Sec.

 6   Litig., 6 F. Supp. 2d 313, 321 (D.N.J. 1998).

 7           DPPs’ preliminary approval motion sets forth a plan for pro rata distribution of the Settlement

 8   Fund to the Settlement Class, after payment of the attorney’s fees and expenses. The plan is impartial;

 9   no Class member is favored over others. See Dkt. 1298 at 22-23. Pro rata distribution has frequently

10   been determined by Courts to be fair, adequate, and reasonable. See In re Cathode Ray Tube (CRT)

11   Antitrust Litig., 2015 U.S. Dist. LEXIS 170525, at *198-200 (N.D. Cal. Dec. 17, 2015) (approving pro

12   rata plan of allocation based upon proportional value of price-fixed component in finished product); In

13   re Dynamic Random Access Memory (DRAM) Antitrust Litig., No. M-02-1486 PJH, Dkt. No. 2093, at *2

14   (Oct. 27, 2010) (Order Approving Pro Rata Distribution); In re Vitamins Antitrust Litig., No. 99-197

15   TFH, 2000 U.S. Dist. LEXIS 8931, at *32 (D.D.C. Mar. 31, 2000) (“Settlement distributions, such as

16   this one, that apportions funds according to the relative amount of damages suffered by class members

17   have repeatedly been deemed fair and reasonable.”) (citations omitted); In re Lloyds’ Am. Trust Fund

18   Litig., No. 96 Civ.1262 RWS, 2002 U.S. Dist. LEXIS 22663, at *54 (S.D.N.Y. Nov. 26, 2002) (“Pro rata

19   allocations provided in the Stipulation are not only reasonable and rational, but appear to be the fairest

20   method of allocating the settlement benefits.”); In re PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104, 135

21   (S.D.N.Y. 1997), aff’d 117 F.3d 721 (2d Cir. 1997) (“[A] pro rata distribution of the Settlement on the

22   basis of Recognized Loss will provide a straightforward and equitable nexus for allocation and will avoid

23   a costly, speculative and bootless comparison of the merits of the Class Members’ claims.”).

24           The Court’s Preliminary Approval Order provisionally found DPPs’ pro rata allocation plan to

25   be “sufficiently fair, reasonable, and adequate” and approved it. See Dkt. 1455 at ¶ 6. No Class member

26   has objected to DPPs’ proposed allocation plan. See Dkt. 1461-1 at ¶ 34. Accordingly, the Court finally

27   approves the allocation plan.

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            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                          PROPOSED SETTLEMENTS
          Case 3:14-cv-03264-JD Document 1469 Filed 02/06/17 Page 16 of 16


 1   IT IS SO ORDERED.

 2   Dated:

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 4
                                                                 HON. JAMES DONATO
 5                                                              United States District Judge

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              [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
                                            PROPOSED SETTLEMENTS
